Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 1 of 46




                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

    IN RE: ZANTAC (RANITIDINE)                                                                       MDL NO. 2924
    PRODUCTS LIABILITY                                                                                20-MD-2924
    LITIGATION

                                                                   JUDGE ROBIN L. ROSENBERG
                                                          MAGISTRATE JUDGE BRUCE E. REINHART
        ________________________________/

                           ORDER GRANTING RETAILER AND
                     PHARMACY DEFENDANTS’ RULE 12 MOTION TO
                  DISMISS ON THE GROUND OF PREEMPTION, GRANTING
              DISTRIBUTOR DEFENDANTS’ RULE 12 MOTION TO DISMISS ON
            THE GROUND OF PREEMPTION, DENYING AS MOOT RETAILER AND
            PHARMACY DEFENDANTS’ RULE 12 MOTION TO DISMISS ON STATE
           LAW GROUNDS, AND DENYING AS MOOT DISTRIBUTOR DEFENDANTS’
           RULE 12 MOTION TO DISMISS ON VARIOUS GROUP-SPECIFIC GROUNDS

               This matter is before the Court on the Defendant Retailers’ (“Retailer Defendants”) Rule

    12 Motion to Dismiss on the Grounds of Preemption [DE 1584], the Defendant Distributors’

    (“Distributor Defendants”) (when referencing both Defendants, collectively “Defendants”) Rule

    12 Motion to Dismiss on the Ground of Preemption [DE 1583] (collectively, “Defendants’ First

    Round Motions to Dismiss”), the Retailers’ Rule 12 Motion to Dismiss on State Law Grounds [DE

    2044], and the Distributors’ Rule 12 Motion to Dismiss on Various Group-Specific Grounds [DE

    2045] (collectively, “Defendants’ Second Round Motions to Dismiss”). The Court held a hearing

    on the Motions to Dismiss on December 15, 2020 (“the Hearing”). The Court has carefully

    considered the Motions, the Responses [DE 1977,1 2243, 2244], the Replies [DE 2128, 2131, 2323,

    2326], the Notice of Supplemental Authority [DE 2488], the arguments that the parties made

    during the Hearing, and the record and is otherwise fully advised in the premises. For the reasons



    1
        The Plaintiffs filed a consolidated Response to the Defendants’ First Round Motions to Dismiss.
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 2 of 46




    set forth below, the Defendants’ First Round Motions to Dismiss are GRANTED, the Plaintiffs’

    claims are DISMISSED, and the Defendants’ Second Round Motions to Dismiss are DENIED

    AS MOOT; the Plaintiffs shall have leave to amend a subset of their claims.2

                                             I.       Factual Background3

             This case concerns the pharmaceutical product Zantac and its generic forms, which are

    widely sold as heartburn and gastric treatments. The molecule in question—ranitidine—is the

    active ingredient in both Zantac and its generic forms.

             Zantac has been sold since the early 1980’s, first by prescription and later as an over-the-

    counter medication (“OTC”). In 1983, the U.S. Food and Drug Administration (“FDA”) approved

    the sale of prescription Zantac. MPIC ¶¶ 226, 231, 432. GlaxoSmithKline (“GSK”) first developed

    and patented Zantac. Id. ¶ 230. Zantac was a blockbuster – the first prescription drug in history to

    reach $1 billion in sales. ¶ 231.

             GSK entered into a joint venture with Warner-Lambert in 1993 to develop an OTC form

    of Zantac. Id. ¶ 233. Beginning in 1995, the FDA approved the sale of various forms of OTC

    Zantac. Id. ¶¶ 233, 237. The joint venture between GSK and Warner-Lambert ended in 1998, with

    Warner-Lambert retaining control over the sale of OTC Zantac in the United States and GSK

    retaining control over the sale of prescription Zantac in the United States. Id. ¶ 234. Pfizer acquired




    2
      To the extent the Defendants have requested any relief through incorporation of the Generic Defendants’ Motion to
    Dismiss at docket entry 1582, the Court’s ruling in its Order Granting Generic Manufacturers’ and Repackagers’ Rule
    12 Motion to Dismiss on the Ground of Preemption applies. To the extent the Defendants have requested any relief
    through incorporation of the Brand Defendants’ Motion to Dismiss at docket entry 1580, the Court’s forthcoming
    order on that Motion applies.
    3
      A court must accept a plaintiff’s factual allegations as true at the motion–to–dismiss stage. West v. Warden, 869
    F.3d 1289, 1296 (11th Cir. 2017) (“When considering a motion to dismiss, we accept as true the facts as set forth in
    the complaint and draw all reasonable inferences in the plaintiff’s favor.” (quotation marks omitted)). Plaintiffs have
    set forth their factual allegations in three “master” complaints: the Master Personal Injury Complaint (“MPIC”), the
    Consolidated Consumer Class Action Complaint (“CCCAC”), and the Consolidated Third Party Payor Class
    Complaint (“CTPPCC”) (collectively “Master Complaints”). DE 887, 888, 889.


                                                              2
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 3 of 46




    Warner-Lambert in 2000 and took control of the sale of OTC Zantac in the United States. Id. ¶ 235.

    The right to sell OTC Zantac in the United States later passed to Boehringer Ingelheim

    Pharmaceuticals and then to Sanofi. Id. ¶¶ 239-40, 242-44. When the patents on prescription and

    OTC Zantac expired, numerous generic drug manufacturers began to produce generic ranitidine

    products in prescription and OTC forms. Id. ¶¶ 249-51.

           Scientific studies have demonstrated that ranitidine can transform into a cancer-causing

    molecule called N-nitrosodimethylamine (“NDMA”), which is part of a carcinogenic group of

    compounds called N-nitrosamines. Id. ¶¶ 253, 321, 324, 331. Studies have shown that these

    compounds increase the risk of cancer in humans and animals. Id. ¶¶ 253, 264-72. The FDA, the

    Environmental Protection Agency, and the International Agency for Research on Cancer consider

    NDMA to be a probable human carcinogen. Id. ¶¶ 254, 258. The FDA has set the acceptable daily

    intake level for NDMA at 96 nanograms. Id. ¶¶ 4, 263.

           Valisure LLC and ValisureRX LLC, a pharmacy and testing laboratory, filed a Citizen

    Petition on September 9, 2019, calling for the recall of all ranitidine products due to high levels of

    NDMA in the products. Id. ¶ 285. The FDA issued a statement on September 13 warning that

    some ranitidine products may contain NDMA. Id. ¶ 286. On November 1, the FDA announced

    that testing had revealed the presence of NDMA in ranitidine products. Id. ¶ 296. The FDA

    recommended that drug manufacturers recall ranitidine products with NDMA levels above the

    acceptable daily intake level. Id. Six months later, on April 1, 2020, the FDA requested the

    voluntary withdrawal of all ranitidine products from the market. Id. ¶ 301.

                                     II.     Procedural Background

           After the discovery that ranitidine products may contain NDMA, Plaintiffs across the

    country began initiating lawsuits related to their purchase and/or use of the products. On February



                                                      3
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 4 of 46




    6, 2020, the United States Judicial Panel on Multidistrict Litigation created this multi-district

    litigation (“MDL”) pursuant to 28 U.S.C. § 1407 for all pretrial purposes and ordered federal

    lawsuits for personal injury and economic damages from the purchase and/or use of ranitidine

    products to be transferred to the undersigned. DE 1. Since that time, hundreds of Plaintiffs have

    filed lawsuits in, or had their lawsuits transferred to, the United States District Court for the

    Southern District of Florida. In addition, this Court has created a Census Registry where thousands

    of claimants who have not filed lawsuits have registered their claims. See DE 547.

           Plaintiffs filed three Master Complaints on June 22, 2020. DE 887, 888, 889. Plaintiffs

    contend that the ranitidine molecule is unstable, breaks down into NDMA, and has caused

    thousands of consumers of ranitidine products to develop various forms of cancer. MPIC ¶¶ 1, 6,

    19. Plaintiffs allege that “a single pill of ranitidine can contain quantities of NDMA that are

    hundreds of times higher” than the FDA’s allowable limit. Id. ¶ 4. Plaintiffs are pursuing federal

    claims and state claims under the laws of all 50 U.S. states, Puerto Rico, and the District of

    Columbia. See generally Consolidated Consumer Class Action Complaint (“CCCAC”). The

    entities named as defendants are alleged to have designed, manufactured, tested, marketed,

    distributed, labeled, packaged, handled, stored, and/or sold ranitidine products. MPIC ¶¶ 20, 225.

           The Court has entered numerous Pretrial Orders to assist in the management of this MDL.

    In Pretrial Order # 30, the Court set a case management schedule that is intended to prepare the

    MDL for the filing of Daubert motions on general causation and class certification motions in

    December 2021. DE 875; see generally Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579

    (1993). In Pretrial Order # 36, the Court set a schedule for the filing and briefing of motions to

    dismiss under Federal Rule of Civil Procedure 12 directed to the Master Complaints. DE 1346.

    Defendants filed the instant Motions to Dismiss pursuant to that schedule.



                                                    4
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 5 of 46




                                         III.     The Master Complaints

    A. Master Personal Injury Complaint

              All individuals who file a Short Form Complaint (collectively, the “MPIC Plaintiffs”)

    adopt the MPIC. MPIC at 2.4 The MPIC Plaintiffs allege that they developed cancers from taking

    the Defendants’ ranitidine products. Id. at 1. The MPIC “sets forth allegations of fact and law

    common to the personal-injury claims” within the MDL. Id. at 1. Each MPIC Plaintiff individually

    seeks compensatory damages, punitive damages, restitution, and all other available remedies. Id.

    at 1-2.

              The MPIC Defendants are entities that “designed, manufactured, marketed, distributed,

    labeled, packaged, handled, stored, and/or sold ranitidine.” Id. ¶ 20. They are categorized by the

    MPIC Plaintiffs into five groups: (1) Brand-Name Manufacturer Defendants; (2) Generic

    Manufacturer Defendants; (3) Distributor Defendants; (4) Retailer Defendants; and (5)

    Repackager Defendants. Some MPIC Defendants belong to multiple categories.5 Within each

    category, the MPIC combines distinct corporate entities, including parents, subsidiaries, and

    affiliates, into single named MPIC Defendants.6 Certain allegations apply to MPIC Defendants

    across multiple groups.7

              The MPIC contains 15 counts: Strict Products Liability—Failure to Warn (Count I), Strict

    Products Liability—Design Defect (Count II), Strict Products Liability—Manufacturing Defect

    (Count III), Negligence—Failure to Warn (Count IV), Negligence Product Design (Count V),



    4
      Unless noted otherwise, all page number references herein are to the page numbers generated by CM/ECF in the
    header of each document.
    5
      For example, AmerisourceBergen is named as both a Generic Manufacturer Defendant and a Distributor Defendant.
    MPIC at 15 n.3.
    6
      For example, CCCAC Defendant “Sanofi” refers to five entities: Sanofi-Aventis U.S. LLC, Sanofi US Services Inc.,
    Sanofi S.A., Patheon Manufacturing Services LLC, and Boehringer Ingelheim Promeco, S.A. de C.V. MPIC ¶ 36.
    7
      See, e.g., MPIC ¶ 44 (allegations referring to Repackager Defendants apply to Ajanta, a Generic Manufacturer
    Defendant).

                                                            5
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 6 of 46




    Negligent     Manufacturing       (Count    VI),    General     Negligence      (Count     VII),   Negligent

    Misrepresentation (Count VIII), Breach of Express Warranties (Count IX), Breach of Implied

    Warranties (Count X), Violation of Consumer Protection and Deceptive Trade Practices Laws

    (Count XI), Unjust Enrichment (Count XII), Loss of Consortium (Count XIII), Survival Actions

    (Count XIV), and Wrongful Death (Count XV). Counts I, II, IV, VII, IX, X, XI, XII, XIII, XIV

    and XV are brought against every MPIC Defendant. Counts V and VIII are brought against every

    Brand-Name Manufacturer, Generic Manufacturer and Repackager Defendant. Counts III and VI

    are brought against every Brand-Name Manufacturer and Generic Manufacturer Defendant.

    B. Consolidated Consumer Class Action Complaint

            One hundred and eighty-three named individuals (collectively, the “CCCAC Plaintiffs”)

    bring the CCCAC on behalf of themselves and all others similarly situated.8 The CCCAC

    Plaintiffs are citizens of nearly every state, the District of Columbia, and Puerto Rico. There are

    no CCCAC Plaintiffs who reside in or purchased ranitidine products from Delaware, Hawaii,

    Kansas, Maine, North Dakota, Rhode Island, or South Dakota. Each CCCAC Plaintiff asserts that

    he or she purchased and/or used a ranitidine product during an approximate timeframe.

            The CCCAC Plaintiffs bring the action in their individual capacities and on behalf of

    numerous classes pursuant to Rule 23. Among the various classes are two nationwide classes: (1)

    the “RICO Class,” comprised of “[a]ll residents of the United States or its territories who purchased

    for personal, family, or household use any of Brand-Name Manufacturer Defendants’ Ranitidine-

    Containing Products in the United States or its territories”; and (2) the “Nationwide Class,”

    comprised of “[a]ll residents of the United States or its territories who purchased and/or used for



    8
     The CCCAC originally had 238 named plaintiffs, but 55 were subsequently dismissed without prejudice. See Order
    Granting Plaintiffs’ Unopposed Motion to Drop Certain Plaintiffs from Consolidated Consumer Class Action
    Complaint, DE 2241.

                                                          6
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 7 of 46




    personal, family, or household use, any of the Defendants’ Ranitidine-Containing Products in the

    United States or its territories.” CCCAC ¶ 734. The CCCAC alleges that as an alternative, and/or

    in addition to, the Nationwide Class, the CCCAC Plaintiffs bring the action in their individual

    capacities and on behalf of “State Classes” for all fifty states, the District of Columbia, and Puerto

    Rico. Id. ¶ 737. Each State Class is comprised of “[a]ll residents of [State or Territory] who

    purchased and/or used for personal, family, or household use, any of the Defendants’ Ranitidine-

    Containing Products in the United States or its territories.” Id.

           The defendants named in the CCCAC are entities that “invented, manufactured,

    distributed, labeled, marketed, advertised, . . . stored, and sold ranitidine.” Id. ¶ 259. They are

    categorized by the CCCAC Plaintiffs into five groups: (1) Brand-Name Manufacturer Defendants;

    (2) Generic Manufacturer Defendants; (3) Distributor Defendants; (4) Retailer Defendants; and

    (5) Repackager Defendants (collectively, the “CCCAC Defendants”). Some CCCAC Defendants

    belong to multiple categories. Within each category, the CCCAC combines distinct corporate

    entities, including parents, subsidiaries, and affiliates, into single named CCCAC Defendants.

    Certain allegations apply to CCCAC Defendants across multiple groups.

           The CCCAC alleges 314 counts against the CCCAC Defendants. The CCCAC Plaintiffs

    allege Count 1 (RICO) on behalf of the RICO Class against the Brand-Name Manufacturer

    Defendants. Id. ¶ 750. The CCCAC Plaintiffs allege Count 2 (unjust enrichment) and Count 3

    (Magnuson-Moss Warranty Act) on behalf of the Nationwide Class against all CCCAC

    Defendants. Id. ¶¶ 795, 804. Alternatively, they bring Count 2 “on behalf of themselves under the

    laws of the state in which each [CCCAC] Plaintiff resides and/or purchased Ranitidine-Containing

    Products, and on behalf of a Class comprised of members from each [CCCAC] Plaintiff’s

    respective state.” Id. ¶ 795. The CCCAC Plaintiffs allege Count 4 (fraud) on behalf of the



                                                      7
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 8 of 46




    Nationwide Class against the Brand-Name Manufacturer Defendants, the Generic Manufacturer

    Defendants, and the Repackager Defendants. Id. ¶ 823. Alternatively, they bring Count 4 “on

    behalf of themselves under the laws of the state in which each [CCCAC] Plaintiff resides and/or

    purchased Ranitidine-Containing Products, and on behalf of each State Class.” Id. The CCCAC

    Plaintiffs allege Count 5 (negligence) and Count 6 (battery) on behalf of numerous State Classes

    against all CCCAC Defendants. Id. ¶¶ 839, 886. Finally, the CCCAC Plaintiffs allege Counts 7

    through 314 (including breach of express and implied warranties; failure to warn; manufacturing

    defects; design defects; state consumer protection violations; deceptive trade practices; and

    medical monitoring) on behalf of the various State Classes against some or all of the CCCAC

    Defendants. Id. ¶¶ 906-5899.

                                IV.     Summary of the Parties’ Arguments

           As to the Defendants’ First Round Motions to Dismiss, the Defendants argue that all of the

    Plaintiffs’ claims must be dismissed. They must be dismissed because the Plaintiffs’ state-law

    claims are pre-empted by federal law and the Plaintiffs’ sole federal claim must be dismissed

    without a state-law claim to support it. In Response, the Plaintiffs argue that their state-law claims

    are not pre-empted by federal law for two reasons. First, Supreme Court precedent supports the

    proposition that their claims are not pre-empted. Second, their claims are parallel with federal

    law—there is no conflict (and therefore no pre-emption) with federal law.

           As to the Defendants’ Second Round Motions to Dismiss, the Defendants argue that a

    subset of the Plaintiffs’ claims must be dismissed because they are precluded by state law. In

    Response, the Plaintiffs argue that exceptions in state law permit their claims to go forward.




                                                      8
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 9 of 46




                                  V.      Summary of the Court’s Rulings

           The Court concludes that all of the Plaintiffs’ state-law claims against the Defendants are

    pre-empted by federal law and, as a result, are dismissed. Without a state-law claim to support it,

    the Plaintiffs’ sole federal claim is dismissed as well. The Court will permit the Plaintiffs to re-

    plead a general negligence claim, subject to certain rulings contained in this Order. Because the

    Court concludes that the Plaintiffs’ claims are dismissed, the Defendants’ Second Round Motions

    to Dismiss are moot.

                                         VI.     Standard of Review

           Defendants move to dismiss all of the claims against them under Federal Rule of Civil

    Procedure 12(b)(6) based on the affirmative defense of federal pre-emption. See PLIVA, Inc. v.

    Mensing, 564 U.S. 604, 619 (2011) (describing federal pre-emption as a drug manufacturer’s

    affirmative defense). A court may grant a motion to dismiss a pleading if the pleading fails to state

    a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). A court ruling on a motion to

    dismiss accepts the well-pled factual allegations as true and views the facts in the light most

    favorable to the plaintiff. Jones v. Fransen, 857 F.3d 843, 850 (11th Cir. 2017). But the court need

    not accept legal conclusions couched as factual allegations. Diverse Power, Inc. v. City of

    LaGrange, Ga., 934 F.3d 1270, 1273 (11th Cir. 2019). “Under Rule 12(b)(6), dismissal is proper

    when, on the basis of a dispositive issue of law, no construction of the factual allegations will

    support the cause of action.” Allen v. USAA Cas. Ins. Co., 790 F.3d 1274, 1278 (11th Cir. 2015)

    (quotation marks omitted). A “complaint may be dismissed under Rule 12(b)(6) when its own

    allegations indicate the existence of an affirmative defense, so long as the defense clearly appears

    on the face of the complaint.” Quiller v. Barclays Am./Credit, Inc., 727 F.2d 1067, 1069 (11th Cir.

    1984), aff’d en banc, 764 F.2d 1400 (11th Cir. 1985).



                                                     9
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 10 of 46




                   VII.    Analysis of the Defendants’ First Round Motions to Dismiss

           An understanding of the law that applies to drugs approved by the FDA is necessary to

    understand the arguments that the parties make in briefing the Motions to Dismiss. Before turning

    to the parties’ arguments, the Court discusses key statutes and regulations that govern the FDA’s

    regulation of drugs. The Court next addresses impossibility pre-emption and significant cases that

    have addressed impossibility pre-emption in the drug context. The Court then turns to the issues

    raised in the briefing: absolute liability, misbranding, negligence, and federal regulation of drug

    supply chains. For each issue, the Court reviews the arguments of the parties, any relevant

    allegations in the Master Complaints, and any additional, issue-specific law before providing the

    Court’s analysis and conclusion on the issue.

    A. Federal Regulation of Drug Products

           The FDA regulates prescription and over-the-counter (“OTC”) drugs under the Federal

    Food, Drug, and Cosmetic Act, as amended, 21 U.S.C. § 301 et seq. (“FDCA”). The FDCA

    provides a process for the FDA to approve a new drug through a new drug application (“NDA”)

    and a process for the FDA to approve a drug that is the same as a previously approved drug through

    an abbreviated new drug application (“ANDA”). See 21 U.S.C. § 355. A drug must have an FDA-

    approved NDA or ANDA to be introduced into interstate commerce. Id. § 355(a).

       1. NDAs

           An NDA must contain scientific data and other information showing that the new drug is

    safe and effective and must include proposed labeling. See id. § 355(b)(1). The FDCA defines the

    term “labeling” as “all labels and other written, printed, or graphic matter (1) upon any article or

    any of its containers or wrappers, or (2) accompanying such article.” Id. § 321(m). The FDA may

    approve the NDA only if it finds, among other things, that the new drug is “safe for use under the



                                                    10
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 11 of 46




    conditions prescribed, recommended, or suggested in the proposed labeling”; that there is

    “substantial evidence that the drug will have the effect it purports or is represented to have . . . in

    the proposed labeling”; that the methods and facilities for manufacturing, processing, and

    packaging the drug are adequate “to preserve its identity, strength, quality, and purity”; and that

    the labeling is not “false or misleading in any particular.” Id. § 355(d). A drug approved under the

    NDA process, commonly referred to as a “brand-name drug,” is “listed” by the FDA as having

    been “approved for safety and effectiveness.” See id. § 355(j)(7). Following the approval of its

    NDA, a brand-name drug has a certain period of exclusivity in the marketplace. See id.

    § 355(j)(5)(F).

       2. ANDAs

           Subject to that period of exclusivity, a drug manufacturer may seek the approval of a drug

    that is identical in key respects to a listed drug by filing an ANDA. See id. § 355(j); Mutual Pharm.

    Co., Inc. v. Bartlett, 570 U.S. 472, 477 (2013) (explaining that a generic drug may be approved

    through the ANDA process “provided the generic drug is identical to the already-approved brand-

    name drug in several key respects”). A drug approved under the ANDA process is commonly

    referred to as a “generic drug.” The ANDA must contain information showing that the generic

    drug has the same active ingredient(s), route of administration, dosage form, strength, therapeutic

    effect, and labeling as the listed drug and is “bioequivalent” to the listed drug. 21 U.S.C.

    § 355(j)(2)(A). With limited exceptions, the FDA may approve the ANDA only if it finds that the

    generic drug and its proposed labeling are the same as the listed drug and the listed drug’s labeling.

    See id. § 355(j)(4); see also 21 C.F.R. § 314.94(a)(8)(iii), (iv) (“Labeling (including the container

    label, package insert, and, if applicable, Medication Guide) proposed for the drug product must be

    the same as the labeling approved for the reference listed drug . . . .”). One such exception is that



                                                      11
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 12 of 46




    the generic drug’s proposed labeling “may include differences in expiration date” from the listed

    drug. 21 C.F.R. § 314.94(a)(8)(iv).

       3. Changes to Drugs with Approved NDAs and ANDAs

           The FDA also has requirements for when and how a drug manufacturer may change a drug

    or drug labeling that has an approved NDA or ANDA. See id. §§ 314.70, .97(a). These

    requirements differ depending on the category of change that the manufacturer seeks to make.

    However, despite the availability of these processes to make changes, “generic drug manufacturers

    have an ongoing federal duty of ‘sameness’” that requires “that the warning labels of a brand-name

    drug and its generic copy must always be the same.” Mensing, 564 U.S. at 613; see also 21 C.F.R.

    § 314.150(b)(10) (explaining that approval for an ANDA may be withdrawn if the FDA finds that

    the drug product’s labeling “is no longer consistent with that for the listed drug”). Thus, the

    Changes Being Effected (“CBE”) process allows “changes to generic drug labels only when a

    generic drug manufacturer changes its label to match an updated brand-name label or to follow the

    FDA’s instructions.” Mensing, 564 U.S. at 614.

    B. Impossibility Pre-emption

           The Supremacy Clause of the U.S. Constitution provides that the laws of the United States

    “shall be the supreme Law of the Land . . . any Thing in the Constitution or Laws of any State to

    the Contrary notwithstanding.” U.S. Const. art. VI, cl. 2. “It is basic to this constitutional

    command that all conflicting state provisions be without effect.” Maryland v. Louisiana, 451 U.S.

    725, 746 (1981) (citing McCulloch v. Maryland, 17 U.S. 316, 427 (1819)). The pre-emption

    doctrine is derived from the Supremacy Clause. Gade v. Nat’l Solid Wastes Mgmt. Ass’n, 505 U.S.

    88, 108 (1992).




                                                     12
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 13 of 46




           Supreme Court caselaw has recognized that state law is pre-empted under the Supremacy

    Clause in three circumstances. English v. Gen. Elec. Co., 496 U.S. 72, 78 (1990). First, “Congress

    can define explicitly the extent to which its enactments pre-empt state law.” Id. Second, “state law

    is pre-empted where it regulates conduct in a field that Congress intended the Federal Government

    to occupy exclusively.” Id. at 79. Third, state law is pre-empted “to the extent that it actually

    conflicts with federal law . . . where it is impossible for a private party to comply with both state

    and federal requirements, or where state law stands as an obstacle to the accomplishment and

    execution of the full purposes and objectives of Congress.” Id. (citation and quotation marks

    omitted). Three key Supreme Court opinions have addressed impossibility pre-emption—a subset

    of conflict pre-emption—in the drug context.

       1. Wyeth v. Levine

           In Wyeth v. Levine, a consumer of a brand-name drug sued the brand-name drug

    manufacturer on negligence and strict-liability theories under Vermont law for failure to provide

    an adequate warning on the drug’s labeling. 555 U.S. 555, 559-60 (2009). The Supreme Court

    held that the consumer’s labeling claims were not pre-empted because the CBE process permitted

    the brand-name drug manufacturer to “unilaterally strengthen” the warning on the labeling,

    without waiting for FDA approval. Id. at 56869, 571, 573. The Court stated that it could not

    conclude that it was impossible for the brand-name drug manufacturer to comply with both its

    federal-law and state-law duties “absent clear evidence that the FDA would not have approved” a

    labeling change. Id. at 571. The brand-name drug manufacturer “offered no such evidence,” and

    the fact that the FDA had previously approved the labeling did “not establish that it would have

    prohibited such a change.” Id. at 572-73.




                                                     13
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 14 of 46




        2. PLIVA, Inc. v. Mensing

            In PLIVA, Inc. v. Mensing, consumers of generic drugs sued the generic drug manufacturers

    under Minnesota and Louisiana tort law for failure to provide adequate warnings on the drugs’

    labeling. 564 U.S. at 610. The Supreme Court held that the consumers’ labeling claims were pre-

    empted because the generic drug manufacturers could not “independently” change the labeling

    while remaining in compliance with federal law. Id. at 618-20, 623-24. The generic drug

    manufacturers’ “duty of ‘sameness’” under federal law required them to use labeling identical to

    the labeling of the equivalent brand-name drug. Id. at 613. Thus, the CBE process was unavailable

    to the generic drug manufacturers to change labeling absent a change to the brand-name drug’s

    labeling. Id. at 614-15. Because any change that the generic drug manufacturers made to the drugs’

    labeling to comply with duties arising under state tort law would have violated federal law, the

    state tort claims were pre-empted. Id. at 618, 623-24.

            The consumers argued, and the FDA asserted in an amicus brief, that even if the generic

    drug manufacturers could not have used the CBE process to change the labeling, the manufacturers

    could have “asked the FDA for help” by proposing a labeling change to the FDA. Id. at 616,

    619. The consumers further argued that their state-law claims would not be pre-empted unless the

    generic drug manufacturers demonstrated that the FDA would have rejected a proposed labeling

    change. Id. at 620. The generic drug manufacturers conceded that they could have asked the FDA

    for help. Id. at 619.

            The Supreme Court rejected the argument that the ability to ask the FDA for help defeated

    impossibility pre-emption. Id. at 620-21. The Court stated that the “question for ‘impossibility’ is

    whether the private party could independently do under federal law what state law requires of it.”

    Id. at 620 (citing Wyeth, 555 U.S. at 573). “[W]hen a party cannot satisfy its state duties without



                                                    14
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 15 of 46




    the Federal Government’s special permission and assistance, which is dependent on the exercise

    of judgment by a federal agency, that party cannot independently satisfy those state duties for pre-

    emption purposes.” Id. at 623-24. Asking the FDA for help “would have started a Mouse Trap

    game” that eventually may have led to a labeling change, “depending on the actions of the FDA

    and the brand-name manufacturer.” Id. at 619-20. But, the Court stated, pre-emption analysis that

    was dependent on what a third party or the federal government might do would render

    impossibility pre-emption “all but meaningless.” Id. at 620-21 (“If these conjectures suffice to

    prevent federal and state law from conflicting for Supremacy Clause purposes, it is unclear when,

    outside of express pre-emption, the Supremacy Clause would have any force.”).

       3. Mutual Pharmaceutical Co. v. Bartlett

           In Mutual Pharmaceutical Co. v. Bartlett, a consumer of a generic drug brought a design

    defect claim under New Hampshire law against a generic drug manufacturer for failure to ensure

    that the drug was reasonably safe. 570 U.S. at 475. Under New Hampshire law, a drug

    manufacturer could satisfy its duty to ensure that its drug was reasonably safe “either by changing

    a drug’s design or by changing its labeling.” Id. at 482, 492. However, because the generic drug

    manufacturer was unable to change the drug’s composition “as a matter of both federal law and

    basic chemistry,” the only way for the manufacturer to fulfill its state-law duty and “escape

    liability” was by changing the labeling. Id. at 475, 483-84 (citing 21 U.S.C. § 355(j) for the

    proposition that “the FDCA requires a generic drug to have the same active ingredients, route of

    administration, dosage form, strength, and labeling as the brand-name drug on which it is

    based”). The Supreme Court concluded that, under Mensing, federal law prohibited the generic

    drug manufacturer “from taking the remedial action required to avoid liability” under state law,




                                                    15
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 16 of 46




    that is, changing the labeling, and therefore the consumer’s design-defect claim was pre-empted.

    Id. at 475, 486-87 (citing Mensing, 564 U.S. 604).

            The First Circuit Court of Appeals had ruled that the generic drug manufacturer could

    comply with both federal and state law by removing the drug from the market. Id. at 475, 479. The

    Supreme Court stated that this was “no solution” because adopting this “stop-selling rationale

    would render impossibility pre-emption a dead letter and work a revolution in th[e] Court’s pre-

    emption case law.” Id. at 475, 488-90 (rejecting the stop-selling rationale as “incompatible” with

    pre-emption jurisprudence because, in “every instance in which the Court has found impossibility

    pre-emption, the ‘direct conflict’ between federal- and state-law duties could easily have been

    avoided if the regulated actor had simply ceased acting”). Pre-emption caselaw “presume[s] that

    an actor seeking to satisfy both his federal- and state-law obligations is not required to cease acting

    altogether in order to avoid liability.” Id. at 488.

        4. Application of Mensing and Bartlett

            Based on the Mensing and Bartlett opinions, federal courts have held that numerous

    categories of claims against generic drug manufacturers are pre-empted, even where plaintiffs do

    not couch their claims as design defect or failure to warn. For example, courts have held that

    claims against generic drug manufacturers for failure to communicate information to consumers

    or medical providers, where the manufacturers of the listed brand-name drugs have not done so,

    are pre-empted. See, e.g., In re Darvocet, 756 F.3d 917, 932-33 (6th Cir. 2014) (concluding that a

    claim that generic drug manufacturers should have sent letters explaining safety risks to medical

    providers was pre-empted because, “if generic drug manufacturers, but not the brand-name

    manufacturer, sent such letters, that would inaccurately imply a therapeutic difference between the

    brand and generic drugs and thus could be impermissibly misleading” (quotation marks omitted));



                                                       16
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 17 of 46




    Lashley v. Pfizer, Inc., 750 F.3d 470, 47475 (5th Cir. 2014) (concluding that a claim that generic

    drug manufacturers should have communicated information consistent with the brand-name drug

    labeling was pre-empted because “the duty of sameness prohibits the generic manufacturers from

    taking such action unilaterally, they are dependent on brand-names taking the lead” (quotation

    omitted)); Morris v. PLIVA, Inc., 713 F.3d 774, 777 (5th Cir. 2013) (concluding that a claim that

    generic drug manufacturers should have communicated that a labeling change had been made was

    pre-empted because the manufacturers “were not at liberty” to communicate such information

    where “no brand-name manufacturer sent a warning based on the . . . label change”).

           Courts similarly have held that claims against generic drug manufacturers for failure to

    conduct testing of their drug products are pre-empted. See, e.g., Drager v. PLIVA USA, Inc.,

    741 F.3d 470, 476-77 (4th Cir. 2014) (concluding that a claim that a generic drug manufacturer

    was negligent in the “testing, inspection, and post-market surveillance” of its drug product was

    pre-empted because any duty to perform such acts fell within the “general duty to protect

    consumers from injury based on the negligent marketing and sale of a product,” and the

    manufacturer “whose product is unreasonably dangerous as sold could not satisfy that [general]

    duty without changing its warnings, changing its formulation, exiting the market, or accepting tort

    liability”); Morris, 713 F.3d at 778 (concluding that a claim that generic drug manufacturers failed

    to test and inspect their products was pre-empted, in part, because “any ‘useful’ reporting [of

    testing results]—at least from the standpoint of those injured—would ostensibly consist of some

    sort of warning,” which the manufacturer could not give).

           Courts also have held that claims against generic drug manufacturers for misrepresentation,

    fraud, and violation of consumer-protection statutes are pre-empted. See, e.g., In re Darvocet,

    756 F.3d at 935-36 (concluding that fraud, misrepresentation, and consumer-protection claims



                                                    17
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 18 of 46




    against generic manufacturers were pre-empted because the claims “all challenge[d] label

    content,” the plaintiffs did “not identify any representations made other than those contained in

    the FDA-approved labeling,” and the manufacturers “could not have corrected any alleged

    misrepresentation without violating federal law because they were required to conform their

    labeling to that of the brand-name drugs”); Eckhardt v. Qualitest Pharms., Inc., 751 F.3d 674, 680

    (5th Cir. 2014) (concluding that consumer-protection claims against generic manufacturers were

    pre-empted because the claims were based on allegations that the manufacturers failed to

    sufficiently warn consumers, and federal law forbade the manufacturers from making any changes

    to their FDA-approved warnings); Drager, 741 F.3d at 479 (concluding that negligent

    misrepresentation and fraudulent concealment claims against a generic drug manufacturer were

    pre-empted because they were premised on the content of the labeling, the manufacturer had “no

    authority to add or remove information from its materials or to change the formulation of the

    product to make its representations complete or truthful,” and the manufacturer’s “only remaining

    options [were] to leave the market or accept tort liability”).

           As one final example, courts have held that claims against generic drug manufacturers for

    breaches of express and implied warranties are pre-empted. See, e.g., Schrock v. Wyeth, Inc.,

    727 F.3d 1273, 1288 (10th Cir. 2013) (concluding that an express-warranty claim against a generic

    drug manufacturer was pre-empted because the plaintiffs did not identify a mechanism through

    which the manufacturer “could have modified or supplemented the warranties allegedly breached

    without running afoul of the duty of sameness” and that claims for breach of the implied warranties

    of merchantability and fitness for intended use were pre-empted because the manufacturer “could

    not have altered the composition of the [drug] it manufactured without violating federal law”);

    Drager, 741 F.3d at 478-79 (concluding that claims that a generic drug manufacturer had breached



                                                     18
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 19 of 46




    an express warranty and the implied warranties of merchantability and fitness for a particular

    purpose were pre-empted because the manufacturer could not have changed its warnings or drug

    formulation to comply with the warranties and therefore could avoid liability only by leaving the

    market).

    C. Issues in the Defendants’ First Round Motion to Dismiss

           The Defendants contend that, under Mensing and Bartlett, all of the non-derivative claims

    against them in the MPIC and the CCCAC are pre-empted and must be dismissed. For their part,

    the Plaintiffs maintain that none of their claims are pre-empted. The parties’ arguments revolve

    around four separate legal issues raised in the briefing: (1) absolute liability, (2) federal

    misbranding, (3) general negligence, and (4) the law applicable to prescription drug supply chains.

    The Court addresses each in turn before turning to (5) the Plaintiffs’ federal claim and state-law

    derivative claims.

    1. Absolute Liability

           a. Arguments and Allegations

           The Defendants argue that they do not have authority under federal law to alter a drug’s

    design or label; all of the Plaintiffs’ state-law claims are pre-empted under Bartlett and Mensing

    because, at their core, all of the Plaintiffs’ state-law claims are based upon either an allegation of

    a faulty design or a faulty label. The Defendants cite to cases which found pre-emption where

    claims were based upon improper labeling and defective design—cases where the defendant had

    no ability to alter a label or alter a design. E.g., In re Lipitor (Atorvastatin Calcium) Mktg., Sales

    Practices & Prods. Liab. Litig., MDL No. 2:14-mn-02502-RMG, 2016 WL 7368203, at *2 (D.S.C.

    Nov. 1, 2016) (“a pharmacy also has no authority to unilaterally change a drug’s label” and thus,

    any claims against the pharmacy based on the label are pre-empted); Greager v. McNeil-PPC, Inc.,



                                                     19
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 20 of 46




    414 F. Supp. 3d 1137, 1142 (N.D. Ill. 2019) (dismissing claims against retail seller of OTC drug

    on pre-emption grounds). Indeed, courts have even found that claims against brand manufacturers

    were pre-empted when the manufacturer lost the ability to alter a label. See In re Darvocet, 756

    F.3d at 940 (affirming dismissal of state claims against brand manufacturer as pre-empted because,

    once that defendant divested its NDA prior to plaintiff’s use of the drug, that defendant had “no

    more power to change the [brand] label than did [the generic manufacturer]”); see also Smith v.

    Teva Pharm. USA, Inc., 437 F. Supp. 3d 1159, 1165-66 (S.D. Fla. 2020) (“The FDA’s regulations

    nowhere contemplate a distributor of a brand drug, albeit a distributor closely affiliated with the

    NDA holder, initiating changes to an approved NDA . . . Fatal to Plaintiff’s claims is that

    Defendant is not [the drug’s] NDA holder.”).

           In contrast to the foregoing authority, the Plaintiffs have provided no citation to a case

    where similar claims against retailers (or distributors) survived a pre-emption analysis. Similarly,

    the Plaintiffs have provided no authority in direct opposition to the foregoing authority. Rather,

    the Plaintiffs respond that neither Bartlett nor Mensing apply to their claims because their claims

    are sourced in a theory of absolute liability under state law, while Bartlett and Mensing addressed

    only strict liability under state law. As the Plaintiffs argue that their claims impose absolute

    liability on the Defendants, they reference the first footnote in the Bartlett opinion: “We can thus

    save for another day the question whether a true absolute-liability state-law system could give rise

    to impossibility pre-emption.” Bartlett, 570 U.S. at 482 n.1. Because Bartlett expressly declined

    to hold that absolute liability claims are pre-empted and since all of the Plaintiffs’ claims allege

    absolute liability against the Defendants, the Plaintiffs argue that their claims survive under the

    Bartlett footnote. For their part, the Defendants argue that the Plaintiffs have not pled any absolute

    liability claims, nor could they as no state has recognized such a claim.



                                                     20
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 21 of 46




            The Plaintiffs have not pled absolute liability claims. The word “absolute” does not appear

    once in the 1,523 pages of the MPIC and the CCCAC. At the Hearing, the Plaintiffs clarified that

    their position is that the Court should treat their strict liability claims as functionally equivalent to

    absolute liability claims. DE 2499 at 95 (“We think that all of these causes of action . . . sound in

    strict liability. . . . There is no such thing under state law so far as we know as a cause of action

    titled absolute liability . . . .”).

            b. Law on Absolute Liability

            The Supreme Court in Bartlett squarely rejected the plaintiff-respondent’s attempt to recast

    her strict lability claims as absolute liability claims:

            [R]espondent’s argument conflates what we will call a “strict-liability” regime (in
            which liability does not depend on negligence, but still signals the breach of a
            duty) with what we will call an “absolute-liability” regime (in which liability does
            not reflect the breach of any duties at all, but merely serves to spread risk). New
            Hampshire has adopted the former, not the latter. Indeed, the New Hampshire
            Supreme Court has consistently held that the manufacturer of a product has a “duty
            to design his product reasonably safely for the uses which he can foresee.” Thibault
            v. Sears, Roebuck & Co., 118 N.H. 802, 809, 395 A.2d 843, 847 (1978). See
            also Reid v. Spadone Mach. Co., 119 N.H. 457, 465, 404 A.2d 1094, 1099
            (1979) (“In New Hampshire, the manufacturer is under a general duty to design his
            product reasonably safely for the uses which he can foresee” (internal quotation
            marks omitted)); Chellman v. Saab–Scania AB, 138 N.H. 73, 78, 637 A.2d 148,
            150 (1993) (“The duty to warn is part of the general duty to design, manufacture
            and sell products that are reasonably safe for their foreseeable uses”); cf. Simoneau
            v. South Bend Lathe, Inc.,130 N.H. 466, 469, 543 A.2d 407, 409 (1988) (“We limit
            the application of strict tort liability in this jurisdiction by continuing to emphasize
            that liability without negligence is not liability without fault”); Price v. BIC
            Corp., 142 N.H. 386, 390, 702 A.2d 330, 333 (1997) (cautioning “that the term
            ‘unreasonably dangerous’ should not be interpreted so broadly as to impose
            absolute liability on manufacturers or make them insurers of their products”).
            Accordingly, respondent is incorrect in arguing that New Hampshire’s strict-
            liability system “imposes no substantive duties on manufacturers.” Brief for
            Respondent 19.

    Bartlett, 570 U.S. at 481-82 (emphases added). The Supreme Court rejected the plaintiff’s

    contention that her strict liability claim imposed no duty on the defendant (serving instead only to



                                                       21
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 22 of 46




    spread risk) and instead found that the defendant did owe a duty—there was no absolute liability,

    independent of a duty owed to a consumer. Id. at 485-86. Because the defendant’s duty was to

    either redesign the drug or alter the label, and because both of those actions were prohibited by

    federal law, the Supreme Court held that the plaintiff’s design defect claim was pre-empted. Id. at

    486-87. Important to the instant case (and as bolded above), the Supreme Court clarified that an

    absolute liability theory is one that imposes no duties on a defendant. Id. at 481.

           The Supreme Court’s state-specific analysis in Bartlett considered the duties a generic

    manufacturer in New Hampshire owed to the consumers of its products. Id. at 481-82. In the

    abstract, the range of possible duties a state could impose upon a retailer (that merely sells a

    packaged product) is logically more constrained than the duties a state could conceivably impose

    upon a manufacturer that designs, produces, and sells a product. Unlike a manufacturer, a retailer’s

    more limited duty is, essentially, not to sell a defective product—under such a duty, “[i]t is not

    enough to show that the product caused the plaintiff’s injury or was involved in it. The plaintiff

    must show that there was something wrong with the product.” E.g., Tatum v. Cordis Corp., 758

    F. Supp. 457, 461 (M.D. Tenn. 1991). The Supreme Court expressly expounded upon this concept

    in Bartlett when it refused to permit the plaintiff to equate strict liability with absolute liability.

    For authority in reaching its conclusion, the Court cited to the Restatement (Second) of Torts,

    Section 402A. The Restatement explains that a seller’s duty under a strict liability regime is not

    to “sell[] any product in a defective condition.” RESTATEMENT (SECOND) OF TORTS § 402A (Am.

    L. Inst. 1965).

           The Plaintiffs have provided no authority for the proposition that the Defendants can be

    held liable in strict liability regardless of whether there was something wrong with a product or

    the product’s label. At the Hearing, the Court asked Plaintiffs’ counsel whether Plaintiffs were



                                                      22
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 23 of 46




    aware of any state which would permit a jury trial without the Plaintiff having the burden of proof

    to show that something was wrong with ranitidine’s design or label—the Plaintiffs answered in

    the negative. DE 2499 at 109-10.

             Though strict liability “means liability without negligence, it does not mean liability

    without some type of fault. . . . There must be such a defect in the product as to render it

    unreasonably dangerous to the user.” Oregon Farm Bureau Ins. Co. v. E.L. Caldwell & Sons, Inc.,

    306 F. Supp. 835, 838 (D. Or. 1969). In the absence of fault—in the absence of a duty not to sell

    a defective product—a retailer would be relegated to the role of an insurer for each sale it makes

    and, for this reason, courts have refused to impose an absolute liability system under the auspices

    of strict liability. See, e.g., Peterson v. Superior Ct., 899 P.2d 905, 919 (Cal. 1995) (rejecting “the

    function of loss spreading” as the sole rationale for imposing strict liability); see also Anderson v.

    Owens-Corning Fiberglas Corp., 810 P.2d 549, 559 (Cal. 1991) (“[I]t was never the intention of

    the drafters of the [strict liability] doctrine to make the manufacturer or distributor the insurer of

    the safety of their products. It was never their intention to impose absolute liability.”); Woodill v.

    Parke Davis & Co., 402 N.E.2d 194, 199 (Ill. 1980) (“Strict liability is not the equivalent of

    absolute liability.”); Daly v. Gen. Motors Corp., 575 P.2d 1162, 1166 (Cal. 1978) (“From its

    inception, . . . strict liability has never been, and is not now, absolute liability.”) (emphasis added);

    McHargue v. Stokes Div. of Pennwalt, 686 F. Supp. 1428, 1434 (D. Colo. 1988) (“Strict liability,

    however, is not the equivalent of absolute liability. . . .”).

             The Plaintiffs cite to two trial court decisions in Pennsylvania9 decided by the same judge

    on the same day: Hassett v. Dafoe, 74 A.3d 202 (Pa. Super. Ct. 2013) and In re

    Reglan/Metoclopramide Litig., 81 A.3d 80 (Pa. Super. Ct. 2013). The Plaintiffs’ citation is for the


    9
      The Plaintiffs also analogize absolute liability to vicarious liability; these doctrines are plainly distinct, and vicarious
    liability is irrelevant to the issues before the Court.

                                                                 23
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 24 of 46




    proposition that Pennsylvania strict liability causes of action are not pre-empted under Bartlett.

    The cases, however, do not support the Plaintiffs’ proposition. In contrast to the Plaintiffs’

    representation that Hassett held that Bartlett does not pre-empt strict liability claims against

    retailers under Pennsylvania law, the quote cited by the Plaintiffs merely sets forth what the

    plaintiffs’ argument was in Hassett—the plaintiffs argued that Bartlett did not pre-empt

    Pennsylvania strict liability claims. The best support that can be found for the Plaintiffs in Hassett

    is that the trial court made a reference that the argument “appear[ed] to have some vitality.” 74

    A.3d at 213. What the Hassett court held, however, was that while the plaintiffs’ claims “may be

    of the type held to be pre-empted in Bartlett,” the court could not reach a conclusion “without a

    careful analysis of the applicable state law.” Id. at 217. And, without that analysis, any conclusion

    on Bartlett pre-emption would be “premature.” Id.

           c.      Analysis and Conclusion

           The Court first considers whether Bartlett and Mensing facially apply and therefore

    preclude the Plaintiffs’ claims. The Defendants’ first point—any state-law claim based upon a

    faulty label is pre-empted—is supported by a plain reading of Mensing:

           To summarize, the relevant state and federal requirements are these: State tort law
           places a duty directly on all drug manufacturers to adequately and safely label their
           products. . . . [T]his duty required the Manufacturers to use a different, stronger
           label than the label they actually used. Federal drug regulations, as interpreted by
           the FDA, prevented the Manufacturers from independently changing their generic
           drugs’ safety labels. . . . We find impossibility here. It was not lawful under federal
           law for the Manufacturers to do what state law required of them.

    564 U.S. at 617-18. Similarly, the Defendants’ second point—any claim based upon drug design

    is pre-empted—is also supported by a plain reading of Bartlett:

           In the present case, however, redesign was not possible. . . . [T]he FDCA requires
           a generic drug to have the same active ingredients, route of administration, dosage
           form, strength, and labeling as the brand-name drug on which it is based. 21 U.S.C.
           §§ 355(j)(2)(A)(ii)–(v) and (8)(B); 21 C.F.R. § 320.1(c). Consequently, the Court

                                                     24
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 25 of 46




           of Appeals was correct to recognize that “Mutual cannot legally make sulindac in
           another composition.” 678 F.3d, at 37. Indeed, were Mutual to change the
           composition of its sulindac, the altered chemical would be a new drug that would
           require its own NDA to be marketed in interstate commerce. See 21 C.F.R. §
           310.3(h) (giving examples of when the FDA considers a drug to be new, including
           cases involving “newness for drug use of any substance which composes such drug,
           in whole or in part”).

    Bartlett, 570 U.S. at 483-84. Finally, the Defendants’ third point—pre-emption cannot be avoided

    by arguing that a party could have ceased to sell a product—is squarely addressed in Bartlett. Id.

    The Court next considers whether the Plaintiffs’ claims against the Defendants, as alleged, are

    indeed based upon a faulty label or design.

           The Plaintiffs’ first count in the MPIC, Failure to Warn (Strict Liability), alleges that the

    Defendants failed to warn the Plaintiffs of dangerous risks because the Defendants knew of

    dangerous risks and did not warn the Plaintiffs about the same. MPIC ¶ 460. The Plaintiffs allege

    that the labels were inadequate. Id. ¶ 467.

           The Plaintiffs’ second count, Design Defect (Strict Liability), alleges that the Defendants

    designed a defective product, the ranitidine molecule, and failed to provide proper warnings

    concerning the design defect. Id. ¶¶ 474, 486.

           The Plaintiffs’ fourth count, Negligence—Failure to Warn, alleges that the Defendants

    could have, at the time of manufacture, “provided warnings or instructions regarding the full and

    complete risks” of ranitidine because they knew that the product was dangerous. Id. ¶ 505.

           The Plaintiffs’ seventh count, General Negligence, alleges that the Defendants did not

    provide the public with accurate information about ranitidine, and that the Defendants did not

    provide appropriate warnings about the potential effects of ranitidine consumption. Id. ¶ 545.




                                                     25
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 26 of 46




            The Plaintiffs’ ninth count, Breach of Express Warranties, alleges that no Plaintiff would

    have consumed ranitidine, had the Defendants properly disclosed the risks associated with

    consumption. Id. ¶ 583.

            The Plaintiffs’ tenth count, Breach of Implied Warranties, alleges that ranitidine was not

    adequately tested or researched and that the ranitidine sold by the Defendants was not safe or fit

    for consumption. Id. ¶ 596.

            The Plaintiffs’ eleventh count, Deceptive Acts, alleges that the Defendants represented

    ranitidine to have benefits and qualities that it did not have. Id. ¶ 608. Plaintiffs further allege that

    ranitidine was deceptively designed, manufactured, distributed, and sold. Id. ¶ 610.

            The Plaintiffs’ twelfth count, Unjust Enrichment, alleges that the Defendants omitted

    disclosures that ranitidine consumption presented an unreasonable risk. Id. ¶ 631.

            As for the CCCAC, the Plaintiffs’ allegations mirror the allegations in the MPIC, and the

    CCCAC brings essentially the same counts (see CCCAC at 8-35) with one deviation—the CCCAC

    brings a federal claim against the Defendants, a claim under the Magnuson-Moss Warranty Act.10

            The Court concludes that all of the Plaintiffs’ state-law claims against the Defendants are

    based upon ranitidine’s allegedly defective design and inadequate labels/warnings. This Court

    cannot disregard the holdings in Bartlett and Mensing. The Defendants have no ability to alter a

    label or alter a drug’s design; thus, claims against them premised on labeling and design are pre-

    empted. Courts have routinely reached this conclusion over the years since Bartlett and Mensing

    were decided, and the Plaintiffs provide no authority to the contrary.




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       The Plaintiffs’ Magnuson-Moss Warranty Act claim is addressed in Section 5, infra. The CCCAC also raises a
    state-law battery claim that alleges the Defendants improperly promoted, advertised, marketed, distributed, and sold
    ranitidine. CCCAC ¶ 894.

                                                            26
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 27 of 46




            A Defendant can take only limited steps to comply with state-law duties stemming from

    the sale of a federally-approved drug; it can (1) modify the label, (2) issue a non-label warning,

    (3) redesign the drug, or (4) stop selling the product. The Plaintiffs do not dispute that the

    Defendants would be powerless to cure a design defect in a drug, to make changes to the drug’s

    label, or to issue other warnings without FDA approval. The Defendants would therefore have no

    recourse to avoid liability except to stop selling the drug altogether. But one thing that Bartlett

    made clear is that a “stop-selling” theory cannot be the basis on which a state law claim survives

    pre-emption. 570 U.S. at 488-91. For this reason, as well as others, courts dismiss design and

    label-based claims against any defendant that is powerless to alter a design or alter a label. E.g.,

    Smith, 437 F. Supp. 3d at 1165 (“Whether Plaintiff’s state-law claims as to [the defendant] are

    preempted is wholly dependent on whether Defendant had the authority to ‘unilaterally’ initiate

    changes to [the drug’s] labels.”).

            The Plaintiffs have provided no citation to post-Bartlett authority where a court reached a

    different conclusion, nor have the Plaintiffs cited to a case where a court held that strict liability is

    equivalent to absolute liability—a proposition that Bartlett squarely rejected.               Instead, the

    Plaintiffs rely upon Section 402A of the Restatement of Torts, quoting the provision of 402A that

    notes that a seller may exercise all possible care, but still be found liable under a strict liability

    claim. But the Supreme Court in Bartlett utilized 402A in reaching its conclusion that strict

    liability is not equivalent to absolute liability because strict liability, unlike absolute liability, still

    imposes a duty upon a seller—the duty not to sell a defective product. At the Hearing, the Court

    asked the Plaintiffs’ counsel if the Plaintiffs were aware of any pharmaceutical case or MDL

    subsequent to Bartlett and Mensing that found a state-law strict liability claim had been stated

    against a retailer or distributor—the Plaintiffs were unable to provide any citation. DE 2499 at



                                                        27
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 28 of 46




    123-24. In summary, all of the caselaw weighs in favor of a conclusion that the Plaintiffs’ claims

    are pre-empted. For these reasons, and because all of the Plaintiffs’ state-law claims against the

    Defendants are premised upon the contention that ranitidine’s design or label were deficient, all of

    the Plaintiffs’ state-law claims against the Defendants are pre-empted and therefore dismissed.

           The Court’s dismissal is with prejudice and without leave to amend. The Court may deny

    leave to amend when further amendment would be futile. E.g., Hall v. United Ins. Co. of Am, 367

    F.3d 1255, 1263 (11th Cir. 2004). The Defendants represent to the Court that there is no state that

    has imposed upon retailers or distributors a faultless, absolute-liability system wherein Defendants

    do function as insurers for damages flowing from the products that they sell. The Court’s own

    research has similarly revealed no such state. At the Hearing, Plaintiffs’ counsel conceded that

    he was not aware of any state that permitted a claim for absolute liability against a retailer or

    distributor. DE 2499 at 94-95. Instead, counsel affirmed that it was the Plaintiffs’ position that

    their strict liability claims were equivalent (sounded in) absolute liability. See id. The Court

    therefore concludes that further amendment of claims predicated on design defect or an improper

    label would be futile and denies leave to amend for that reason; however, the Court will permit

    amendment as to Count VII, general negligence, for the reasons discussed below in subsection (3).

    2. Federal Misbranding

           a. Arguments and Allegations

           The Plaintiffs argue that their claims are not pre-empted under Bartlett and Mensing

    because their claims are parallel to federal law—that is, there is no conflict between federal duties

    and state duties because the duties are, essentially, the same. They argue that (i) federal law

    prohibits the sale of misbranded drugs; (ii) the Plaintiffs have alleged that the Defendants sold

    misbranded drugs; and (iii) such misbranding is prohibited by state law. Thus, the Plaintiffs’



                                                     28
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 29 of 46




    “misbranding” claim is a parallel claim—not a conflicting claim. The Defendants contend that the

    Plaintiffs’ misbranding argument has never been accepted by a court and, if it were, such an

    argument would invalidate all existing Supreme Court precedent on impossibility pre-emption.

           The Plaintiffs have not pled a standalone state-law misbranding claim. Rather, the

    Plaintiffs have incorporated the allegation that ranitidine was misbranded under federal

    misbranding law into each of their counts. E.g., MPIC ¶ 418. The Plaintiffs allege that ranitidine

    products were misbranded because the Defendants “did not disclose NDMA as an ingredient” in

    the products, “did not disclose the proper directions for storage” of the products, and “did not

    disclose the proper directions for expiration” of the products. Id. ¶¶ 421-23; CCCAC ¶¶ 601-03.

           b. Federal Statutes on Misbranding

           The U.S. Code prohibits the “introduction or delivery for introduction into interstate

    commerce of any . . . drug . . . that is adulterated or misbranded,” the “adulteration or misbranding

    of any . . . drug . . . in interstate commerce,” the “receipt in interstate commerce of any . . . drug

    . . . that is adulterated or misbranded,” and the “manufacture within any Territory of any . . . drug

    . . . that is adulterated or misbranded.” 21 U.S.C. § 331(a)-(c), (g). The Plaintiffs do not have a

    private cause of action to enforce this statute. Id. § 337(a) (providing that “all such proceedings

    for the enforcement, or to restrain violations, of this chapter shall be by and in the name of the

    United States”); Ellis v. C.R. Bard, Inc., 311 F.3d 1272, 1284 n.10 (11th Cir. 2002) (explaining

    that “no private right of action exists for a violation of the FDCA”). Section 352 of the U.S. Code

    contains several sub-sections delineating the circumstances under which a drug “shall be deemed

    to be misbranded.” 21 U.S.C. § 352. As relevant here, a drug is misbranded if “its labeling is false

    or misleading in any particular” or if “it is dangerous to health when used in the dosage or manner,




                                                     29
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 30 of 46




    or with the frequency or duration prescribed, recommended, or suggested in the labeling thereof.”

    Id. § 352(a)(1), (j).

            c. Analysis and Conclusion

            As a threshold matter, the Plaintiffs have not provided specific authority for the proposition

    that any of their state-law claims are parallel to federal misbranding law. Plaintiffs’ theory of

    misbranding is that ranitidine’s labeling was false and misleading (in violation of 21 U.S.C. §

    352(a)(1)) and was dangerous to health when used in conformity with its labeling (in violation of

    21 U.S.C. § 352(j)). The Plaintiffs’ misbranding argument fails for several independent reasons.

            First, as previously discussed, the Defendants could not correct the alleged misbranding by

    altering the composition of the drug, nor could the Defendants alter the drug’s label. The

    Defendants would have no recourse but to stop selling the drug altogether which they are not

    required to do to comply with a state law duty. Bartlett, 570 U.S. at 488-91. The Plaintiffs’

    argument that federal law would require the Defendants to stop selling misbranded drugs is of no

    moment because the Plaintiffs have not plausibly alleged that the Defendants knew that the drugs

    were misbranded or otherwise could have detected the alleged defects in the ranitidine molecule.

            Second, in the aftermath of Bartlett, courts have only entertained the possibility of

    misbranding-based claims when the claims were “pure design-defect claims.” E.g., In re Yasmin

    and Yaz (Drospirenone) Mktg., Sales Pracs. & Prods. Liab. Litig., No. 3:09-md-02100-DRH-

    PMF, 2015 WL 7272766, at *4 (S.D. Ill. Nov. 18, 2015) (determining that the plaintiff could not

    “assert a ‘pure’ design defect claim under Illinois law.”). By definition, however, such a claim

    could only be brought against a manufacturer—not a retailer or a distributor. E.g., In re Darvocet,

    756 F.3d at 929-30. Furthermore, the Plaintiffs have provided no authority for the proposition that

    pre-emption can be avoided by showing that a drug is misbranded under federal law.



                                                     30
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 31 of 46




             Third, a finding that Plaintiffs can avoid pre-emption by alleging that defects in ranitidine

    products made the products misbranded under 21 U.S.C. § 352 would render the vast body of

    pre-emption caselaw in the drug context, including binding Supreme Court decisions, meaningless.

    If Plaintiffs’ position were accepted, a plaintiff could avoid pre-emption simply by asserting, for

    example, that a drug’s labeling was “false or misleading in any particular” or that the drug was

    “dangerous to health when used” as prescribed. See 21 U.S.C. § 352(a)(1), (j). The Court cannot

    adopt a position that would render pre-emption caselaw meaningless. Cf. Bartlett, 570 U.S. at 488-

    90 (rejecting the stop-selling rationale because it was “incompatible with our pre-emption

    jurisprudence,” would mean that the vast majority or all “of the cases in which the Court has found

    impossibility pre-emption, were wrongly decided,” and would make impossibility pre-emption “all

    but meaningless” (quotation marks omitted)); Mensing, 564 U.S. 620-21 (rejecting the proposition

    that pre-emption analysis could be dependent on what a third party or the federal government

    might do because such a position would “render conflict pre-emption largely meaningless”).11

    This is a topic addressed in the Court’s Order Granting Generic Manufacturers’ and Repackagers’

    Rule 12 Motion to Dismiss on the Ground of Preemption. The Court adopts and incorporates herein

    the Court’s analysis and conclusions contained in that Order.

             Fourth, there is no private right of action to enforce federal misbranding law—a statute that

    imposes criminal penalties. Ellis, 311 F.3d at 1284 n.10. The Plaintiffs cannot create a private

    right of action to enforce federal misbranding rules by disguising it as a state-law strict-liability



    11
        The Defendants raised an additional argument in support of their contention that the Plaintiffs’ claims are pre-
    empted, an argument premised upon a good-faith exception contained in the federal misbranding statute, 21 U.S.C. §
    333 (“No person shall be subject to the penalties of subsection (a)(1) of this section, (1) for having received in interstate
    commerce any article and delivered it or proffered delivery of it, if such delivery or proffer was made in good faith. .
    . .”). At the Hearing, the Plaintiffs made a counterargument that the good-faith exception does not apply in this case.
    DE 2499 at 75. Because the Court concludes that the Plaintiffs’ misbranding argument does not apply for other,
    independent reasons, the Court need not address the Defendants’ good-faith exception argument.


                                                                31
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 32 of 46




    claim. Indeed, the Plaintiffs have represented that there are no state-law duties as to the Retailer

    Defendants.12 DE 1977 at 12 (Section II.A. titled: “Retailers Have no Legal Duties Under State

    Law.”). State tort claims that rely solely upon federal law for the source of a duty are pre-empted.

    See Buckman Co. v. Plaintiffs’ Legal Comm., 531 U.S. 341, 353 (2001).

             For the reasons set forth above, the Plaintiffs’ state-law claims, other than the general

    negligence claim, against the Defendants are pre-empted and, therefore, dismissed with prejudice.

    The Court’s dismissal is without leave to amend as further amendment would be futile; however,

    the Court will permit amendment as to Count VII, general negligence.

    3. General Negligence

             a. Arguments and Allegations

             The Court concluded, in Section VII.C.1.c, that the Plaintiffs’ general negligence claim,

    Count VII in the MPIC, was based upon the adequacy of ranitidine’s design and label and, as a

    result, Count VII was dismissed as pre-empted. The Court’s dismissal was without leave to amend;

    however, the Plaintiffs have separately argued (outside of the arguments contained in Section

    VII.C.1) that Count VII is unique—that it is not based upon the adequacy of a label or drug design.

    Thus, the Plaintiffs argue that Count VII is not pre-empted under Bartlett or Mensing. For their

    part, the Defendants contend that Count VII is not based upon any legally viable theory.

             As pled, the General Negligence count is very broad. By way of example, the Plaintiffs

    have facially alleged that all of the Defendants designed ranitidine because neither the Retailer

    Defendants nor the Distributor Defendants are delineated from “Defendants” in Count VII. MPIC

    ¶ 543 (“Defendants, directly or indirectly, designed, manufactured, tested, marketed, labeled,



    12
      Because the Plaintiffs filed a consolidated Response to both the Retailer and the Distributor Defendants, it may
    easily be inferred from the Plaintiffs’ argument on this point that it is their contention that state law imposes no duties
    on both the Retailer Defendants and the Distributor Defendants.

                                                               32
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 33 of 46




    packaged, handled, distributed, stored, and/or sold ranitidine-containing products that were used

    by the Plaintiffs.”). Thus, the Plaintiffs allege that every Defendant in this MDL engaged in every

    possible action—designing, marketing, testing, labeling, packaging, and manufacturing—

    regardless of the individual Defendant’s role or purpose in this case. Id. Additionally, not only is

    Count VII styled against all Defendants without delineation by any one Defendant’s role, but the

    Count applies across every possible timeframe, running from the early 1980’s to the present. E.g.,

    id. ¶ 542.

            b. Analysis and Conclusion

            The Court is required to view all factual allegations in the light most favorable to the

    Plaintiffs, Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1273 n.1 (11th Cir. 1999), but because of

    the Plaintiffs’ shotgun-style pleading of Count VII, the Court cannot discern the precise factual

    grounds upon which Count VII is based. The Court has therefore relied upon the Plaintiffs’

    representations in their Response as to the underlying factual premise for Count VII to discern

    what the Count is intended to allege. The Plaintiffs devote only two paragraphs in their Response

    to explain the basis for Count VII as follows:

            The Complaints allege negligence against all Defendants. For example, the MPIC
            includes negligent failure to warn (Count IV) and general negligence (Count VII).
            The MPIC details a variety of ways in which temperature, light, and other factors
            relating to storage and handling can hasten ranitidine’s breakdown into NDMA,
            and alleges that “[n]othing prevented any Defendant from, on their own, taking
            actions to prevent accumulation of NDMA in ranitidine-containing products by
            ensuring cooled storage and transport. Such actions would not have required FDA
            approval, nor would they have violated any regulatory decisions or laws.” MPIC ¶
            408. The FDA in fact requires that storage conditions be appropriate. See 21 C.F.R.
            § 211.142(b) (requiring “Storage of drug products under appropriate conditions of
            temperature, humidity, and light so that the identity, strength, quality, and purity of
            the drug products are not affected”).

            Defendants entirely ignore these negligence allegations. Instead, they
            mischaracterize all the claims as sounding entirely in failure to warn and design



                                                      33
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 34 of 46




             defect. See Retailer Mot. At 6 (glossing Count VII as entirely about warnings and
             marketing). Defendants have provided no basis to dismiss the negligence counts.

    DE 1977 at 21-22.13

             The Court draws two conclusions from the Plaintiffs’ representation of the factual premise

    for Count VII. First, the Plaintiffs did intend for Count VII to be based, at least in part, on the

    adequacy of the ranitidine label and the alleged defective design of the drug. See id. at 22 (“Instead,

    [the Retailer Defendants] mischaracterize all of the claims as sounding entirely in failure to warn

    and design defect.”) (emphasis added). The Court infers from the word “entirely” that, at least in

    part, Count VII sounded in failure to warn (a label-based claim) and design defect. This is why,

    in Section VII.C.1.c, the Court found Count VII to be pre-empted and dismissed the Count

    pursuant to Bartlett and Mensing.

             The second conclusion that the Court draws is that the Plaintiffs also intended to premise

    Count VII on the concept of temperature, alleging that nothing “prevented any Defendant from,

    on their own, taking actions to prevent accumulation of NDMA in ranitidine-containing products

    by ensuring cooled storage and transport.” Id. The Court therefore addresses this temperature-

    based negligence theory.

             The Plaintiffs have alleged that heat can cause the ranitidine molecule to rapidly break

    down into cancer-causing NDMA. MPIC ¶¶ 340-45. The Plaintiffs further allege:

             Testing conducted by the FDA confirms that improper storage of ranitidine has
             resulted in extremely high levels of NDMA. FDA has also concluded that NDMA
             can increase in ranitidine even under storage conditions allowed by the labels, and
             NDMA has been found to increase significantly in samples stored at higher
             temperatures, including temperatures the product may be exposed to during normal
             distribution and handling. FDA’s testing also showed that the level of NDMA in
             ranitidine-containing products increases with time. And while Emery’s Citizen
             Petition sought to obtain a directive regarding temperature-controlled shipping of
             ranitidine, which was necessary given the time and temperature sensitivity of the

    13 Because Count IV, negligent failure to warn, turns on the adequacy of the ranitidine label, that count is pre-empted
    for the reasons set forth in this Order.

                                                             34
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 35 of 46




             drug, that request was deemed moot by the FDA because the agency sought to
             withdraw ranitidine-containing products altogether.

             Nothing prevented any Defendant from, on their own, taking actions to prevent
             accumulation of NDMA in ranitidine-containing products by ensuring cooled
             storage and transport. Such actions would not have required FDA approval, nor
             would they have violated any regulatory decisions or laws.

    Id. ¶¶ 407-08 (footnote omitted). Thus, it is the Plaintiffs’ contention that the Defendants should

    be held liable under state law because the Defendants should have used “cooled storage and

    transport.” Id. ¶ 408. At the Hearing, the Court inquired about this allegation. See DE 2499 at 40-

    50. Plaintiffs’ counsel responded that the Defendants could be held liable for not cooling ranitidine

    to a low-end-of-the-range temperature permitted by the ranitidine label. Id. at 47. Such an action,

    the Plaintiffs argued, would be consistent with federal regulation and therefore would impose no

    impossibility pre-emption on a Defendant.14 The Plaintiffs also responded by explaining that they

    believed a Defendant could be held liable for overheating a drug in its possession, such as

    “le[aving] Ranitidine on a hot truck in the Arizona desert during the summer for extensive periods

    of time creating temperature ranges that vastly exceeded those on the label.” Id. at 77. Neither of

    these theories is pled in the Master Complaints.

             With respect to the “heating” theory—that the Defendants should be held liable for storing

    ranitidine at an elevated temperature prohibited by both federal law and state law—the Plaintiffs

    have leave in an amended complaint to plead this theory because, at this juncture, the Court is not

    prepared to conclude it would be futile for the Plaintiffs to so plead; this theory also received

    minimal discussion in the parties’ briefing. Nonetheless, should the Plaintiffs proceed with this

    theory, the Plaintiffs should address the Court’s concerns.




    14
      At the Hearing, the Plaintiffs conceded that if a state law required a party to store ranitidine at a temperature below
    federally-approved storage conditions, impossibility pre-emption would apply. DE 2499 at 112.

                                                              35
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 36 of 46




               Can the Plaintiffs plead in good faith that any Defendant had a policy to store ranitidine

    products at temperatures above those approved by the FDA? The Court has serious reservations

    as to whether the Plaintiffs can plead that the Defendants had a global policy or practice to do so

    because, presumably, that would mean that the Defendants stored all drugs—not just the drugs

    that are the subject of this MDL—at temperatures that could subject the Defendants to litigation

    from complications arising from all of the stored drugs in their possession. The more reasonable

    inference from the Plaintiffs’ allegations in this regard is that, perhaps, individual stores or

    warehouses or trucks negligently stored ranitidine, but this leads the Court to additional concerns.

               If individual stores negligently stored ranitidine at unsafe, heated temperatures, how is that

    a global, MDL-based issue? This scenario was implicated in the Plaintiffs’ hypothetical, discussed

    at the Hearing, of a rogue truck overheating ranitidine in a desert. Id. That hypothetical appears

    to the Court to be both individualized and fact-specific and likely would have little, if any, bearing

    on the broader, more global questions in this MDL. This raises a question as to whether, if a

    specific truck overheated ranitidine in a desert, such a claim is appropriate in this MDL or should

    it be severed from the MDL. By way of example, medical malpractice actions are sometimes

    severed from MDL suits against pharmaceutical companies15 because the individual questions

    posed by such claims are best addressed outside of an MDL. This MDL was created for the

    purposes of efficiency, and there is efficiency in adjudicating the common questions of law and

    fact stemming from the Plaintiffs’ allegations that ranitidine was defectively designed and

    defectively labeled, together with the related causes of actions that flow from that allegation. DE

    1 at 2. However, whether or not a specific truck broke down in a desert, contaminating the drugs

    contained in the truck, would not appear to be a common question of fact in this MDL.



    15
         E.g., Joseph v. Baxter Int’l Inc., 614 F. Supp. 2d 868, 870 (N.D. Ohio 2009).

                                                               36
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 37 of 46




           Furthermore, do the causation questions inherent in a high-temperature allegation further

    suggest that severance would be appropriate? Suppose a plaintiff alleged that a specific store did

    not use appropriate air conditioning and, as a result, the ranitidine in the store generated NDMA

    which caused the plaintiff cancer. A natural, logical defense by the store may be that the

    overheating occurred prior to the store’s receipt of the drug—perhaps by an overheated delivery

    truck or a manufacturer’s overheated storage facility. Investigation where, in a supply chain,

    overheating occurred appears to the Court to be an individualized, fact-intensive discovery

    challenge. Each supply chain, perhaps even each shipment of ranitidine, could pose different fact-

    intensive questions—none of which concern global, MDL-based matters.

           Finally, how is a high-temperature allegation consistent with the Plaintiffs’ core theory of

    the case? At present, the central premise of this MDL is that ranitidine was defectively designed

    and that the problems with the ranitidine molecule were concealed from the FDA—the FDA did

    not know about the potential problems of the ranitidine molecule when the drug was approved for

    sale. Viewed in that light, how are high-temperature allegations to be squared with the Plaintiffs’

    theory of the case? Stated differently, it is the Plaintiffs’ theory that the Plaintiffs’ harm was

    caused at the very moment ranitidine was manufactured—the Plaintiffs have not alleged that, for

    some period of time, the ranitidine molecule was safe to consume but, because the Defendants

    negligently overheated the drug, the drug became unsafe to consume and therefore caused injury

    to a Plaintiff. This matter is also addressed in the Court’s Order Granting Generic Manufacturers’

    and Repackagers’ Rule 12 Motion to Dismiss on the Ground of Preemption. Should the Plaintiffs




                                                    37
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 38 of 46




    proceed with a high-temperature theory, the Plaintiffs must explain how that specific theory of

    liability is compatible with the Plaintiffs’ global theory of liability.16

            With respect to the Plaintiffs’ “cooling” theory—that to the extent it is the Plaintiffs’ intent

    to hold the Defendants liable for not storing ranitidine at the low-end of a federally-approved

    range—the Plaintiffs have leave to plead this theory in an amended complaint because, at this

    juncture, the Court is not prepared to conclude that it would be futile for the Plaintiffs to so plead;

    this theory received minimal discussion in the parties’ briefing. Nonetheless, should the Plaintiffs

    proceed with this theory, the Plaintiffs should address the Court’s additional concerns. How can

    a Defendant be found liable for storing a drug in accordance with a drug’s label? The FDA drug

    approval process is what determines the appropriate storage temperature for a drug and, as

    conceded by the Plaintiffs, it is the manufacturer that determines proper storage procedures—not

    the Defendants. MPIC ¶ 412 (citing USP Ch. 1079). The Plaintiffs should provide authority for

    the proposition that (i) if a federally-approved label permits a party to store a drug at a specific

    temperature, nonetheless (ii) a state may impose liability for storing a drug at that temperature.

            How were the Defendants to arrive at the conclusion that they should store ranitidine at the

    low-end of a federally-approved range? As the Plaintiffs concede in the MPIC, the duty to conduct

    scientific testing on drugs belongs to manufacturers, not retailers. Id. ¶ 370 (citing 21 C.F.R. §

    211.166(a)). The Plaintiffs have provided no authority for the proposition that Defendants had a

    duty under state law to hire independent scientists to determine where, in a federally-approved

    temperature range, a drug should be stored. Finally, if the Plaintiffs challenge the appropriateness

    of the upper-range of a federally-approved label, does that amount to the charge that Defendants



    16
      As explained in the Court’s Order Granting Generic Manufacturers’ and Repackagers Rule 12 Motion to Dismiss
    on the Ground of Preemption, the Plaintiffs may plead inconsistent, incompatible theories in the alternative, but the
    Plaintiffs have not yet done so.

                                                            38
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 39 of 46




    may have a burden, imposed by state law, to deviate from the conditions permitted on a federally-

    approved label?

           In conclusion, although the Court in Section VII.C.1.c dismissed all of the Plaintiffs’ state-

    law claims without leave to amend on pre-emption grounds, the Court carves out one exception

    from its ruling for Count VII, general negligence. The Plaintiffs may amend Count VII, provided

    the amended claim is not based upon (i) the adequacy of an FDA-approved label or (ii) the design

    of ranitidine, as more fully discussed in this Order. The Plaintiffs may also amend any general

    negligence claims raised in the CCCAC. However, to the extent it is possible to do so, the

    Plaintiffs’ amendment and future briefing on this subject should be responsive to the Court’s

    concerns outlined above.

    4. Prescription Drug Supply Chain

           a. Arguments and Allegations

           In addition to arguing impossibility pre-emption under Bartlett and Mensing, the

    Defendants argue an express pre-emption affirmative defense that applies to the Defendants that

    functioned as pharmacies and/or sold prescription-strength ranitidine. The Defendants argue that

    the Drug Supply Chain Security Act (the “Security Act” or “Act”), 21 U.S.C. §§ 360eee to 360eee-

    4, expressly pre-empts the Plaintiffs’ claims. The Plaintiffs argue the Act is inapplicable to their

    claims because the Act only concerns product tracing, not product safety.

           b. The Drug Supply Chain Security Act

           In 2013, Congress passed the Security Act in an effort to secure the supply chain for

    prescription pharmaceutical drugs. The Act is intentionally broad and comprehensive, governing

    all trading partners (whether manufacturers, repackagers, distributors, or pharmacies) in the supply

    chain for prescription drugs and establishing a framework for the critical steps necessary to enable



                                                    39
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 40 of 46




    the eventual electronic identification and traceability of prescription drugs. For example, since

    2015, trading partners have been required to include specific transaction information for most

    transfers to other trading partners in the supply chain. See id. § 360eee-1.

           The Act also imposes specific obligations on pharmacies, called “dispensers” in the Act’s

    text. First, pharmacies may not accept ownership of a prescription drug unless the previous owner

    provides specific information about that drug, including its name, its strength and dose, and the

    manufacturer’s confirmation that the drug is what it purports to be and is fit for distribution. Id. §§

    360eee(26)-(27), 360eee-1(d)(1)(A)(i). A pharmacy must reject any shipment that is missing this

    information. Second, the Act requires that pharmacies capture various information “as necessary

    to investigate a suspect product.” Id. § 360eee-1(d)(1)(A)(iii) (requiring capture of, among other

    things, transaction history, product name and dose, and manufacturer’s verification of product

    legitimacy). Suspect products include any drug that a pharmacy has reason to believe is adulterated

    or otherwise unfit for distribution. Id. § 360eee(21). Finally, pharmacies must implement a system

    for quarantining suspect products and determining whether they are unfit for distribution. Id. §

    360eee-1(d)(4). Through this web of requirements for pharmacies and others in the supply chain,

    the Act creates a comprehensive, national framework that sets pharmacies’ requirements for

    identifying, tracing, and isolating adulterated or misbranded drugs.

           To give the Act effect, Congress included an express pre-emption provision that precludes

    imposition of any state requirement that is “inconsistent with, more stringent than, or in addition

    to” requirements under the Act, including investigation relating to systems for tracing misbranded

    or adulterated drugs. Id. § 360eee-4(a). The pre-emption provision provides uniformity so that

    trading partners are not subjected to different rules for identifying, tracing, and quarantining

    suspect products. It reads, in relevant part:



                                                      40
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 41 of 46




           [N]o State or political subdivision of a State may establish or continue in effect any
           requirements for tracing products through the distribution system (including any
           requirements with respect to statements of distribution history, transaction history,
           transaction information, or transaction statement of a product as such product
           changes ownership in the supply chain, or verification, investigation, disposition,
           notification, or recordkeeping relating to such systems, including paper or
           electronic pedigree systems or for tracking and tracing drugs throughout the
           distribution system) which are inconsistent with, more stringent than, or in addition
           to, any requirements applicable under [the Act].

    Id. (emphases added). Unlike other express pre-emption provisions, which pre-empt only those

    state requirements that are “inconsistent” with federal standards, the Drug Security Act

    additionally pre-empts any state requirements for product tracing that are “more stringent than, or

    in addition to” federal requirements. Cf. Nat’l Meat Ass’n v. Harris, 565 U.S. 452, 459-60 (2012)

    (Federal Meat Inspection Act’s pre-emption clause that prevents a state from imposing any

    additional or different requirements “sweeps widely”).

           c. Analysis and Conclusion

           For authority that the Act only concerns itself with drug tracing, the Plaintiffs rely upon

    the following block-quote in the Act focusing particularly on the bolded section of the quote:

           Beginning on November 27, 2013 [date of enactment], no State or political
           subdivision of a State may establish or continue in effect any requirements for
           tracing products through the distribution system (including any requirements
           with respect to statements of distribution history, transaction history, transaction
           information, or transaction statement of a product as such product changes
           ownership in the supply chain, or verification, investigation, disposition,
           notification, or recordkeeping relating to such systems, including paper or
           electronic pedigree systems or for tracking and tracing drugs throughout the
           distribution system) which are inconsistent with, more stringent than, or in addition
           to, any requirements applicable [by regulation or this statute].

    DE 1977 at 18 (quoting 21 U.S.C. § 360-eee(4)(a)). The Plaintiffs ignore, however, additional

    text in the statute. The Act also pre-empts requirements pertaining to transaction statements,

    verification, investigation, or record keeping, as follows:




                                                     41
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 42 of 46




            Beginning on November 27, 2013 [date of enactment], no State or political
            subdivision of a State may establish or continue in effect any requirements for
            tracing products through the distribution system (including any requirements
            with respect to statements of distribution history, transaction history, transaction
            information, or transaction statement of a product as such product changes
            ownership in the supply chain, or verification, investigation, disposition,
            notification, or recordkeeping relating to such systems, including paper or
            electronic pedigree systems or for tracking and tracing drugs throughout the
            distribution system) which are inconsistent with, more stringent than, or in
            addition to, any requirements applicable [by regulation or this statute].

    21 U.S.C. § 360-eee(4)(a) (emphases added). Thus, not only does the Act pre-empt state

    requirements that pertain to investigation or verification of drugs in the supply chain, but also any

    state law requirement that is inconsistent with, more stringent than, or in addition to, the

    requirements of the Act. As to these words—verification and investigation—the Plaintiffs’

    Response is silent.

            The Act prohibits a pharmacy from accepting drugs unless certain criteria are met. Id.

    § 360eee-1(d)(1)(A)(i). But the Plaintiffs’ theory of the case is that the Defendants that operated

    as pharmacies17 should have refused to accept ranitidine on grounds in addition to—not contained

    in—the Act. The Plaintiffs contend that the Defendants should not have accepted ranitidine

    because it was defectively designed, the warning label was insufficient, and the drug may have

    produced NDMA during transport.              The Plaintiffs respond to the Defendants’ arguments that,

    even if there were a duty by the pharmacies to reject shipments of ranitidine, that duty has nothing

    to do with “tracing products through the distribution system.” DE 1977 at 18-19.

            In a Notice of Supplemental Authority, the Plaintiffs cite to a recent decision in an MDL

    wherein the Act was found not to pre-empt certain claims. DE [2488] (citing In re Valsartan,



    17
       The Plaintiffs’ Master Complaints do not contain a category for “Pharmacy Defendants.” Nonetheless, the
    Defendants who have operated as pharmacies (at any point in time) have moved for dismissal to the extent any claim
    is premised upon the sale of prescription ranitidine. See Section VII.C.3 (discussing how the Plaintiffs have alleged
    that every Defendant in this MDL is liable for every action at every point in time).

                                                            42
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 43 of 46




    Losartan, and Irbesartan Prods. Liab. Litig., No. 19-MD-02875, 2020 WL 7418006, at *10-11

    (D.N.J. Dec. 17, 2020)). In Valsartan, the district court found that both the plaintiffs and the

    defendants had valid arguments in favor and against pre-emption under the Act, but the court

    ultimately held in favor of a finding of no pre-emption. 2020 WL 7418006, at *10-11. Unlike the

    instant case, however, in Valsartan the allegation was that the drug became contaminated before

    it entered the supply chain, not within the supply chain. Id. at 11.18 Here, the Court declines to

    rule on pre-emption under the Act for two reasons.

            First, the Court finds that it is unnecessary to decide whether the Act pre-empts claims

    against Defendants that operated as pharmacies and/or sold prescription-strength ranitidine where

    the Court has already found pre-emption as to all Defendants. Second, the Court declines to decide

    whether the Act applies to the Plaintiffs’ claims when it does not, at this juncture, have clarity as

    to the precise scope of some of the Plaintiffs’ claims. As discussed above in subsection (3) on

    general negligence, the Plaintiffs advanced a theory at the Hearing that the Defendants should be

    held liable for failing to cool ranitidine to temperatures at the low-end of the federally-approved

    range. If Plaintiffs plead and proceed with such a theory, it may be that the Plaintiffs’ claims are

    based upon product tracing and are therefore pre-empted.

    5. The Plaintiffs’ Remaining Claims

            The Plaintiffs’ sole federal claim, a claim under the Magnuson-Moss Warranty Act,

    requires a valid state-law anchor breach of warranty claim, however, all of the Plaintiffs’ state-law

    warranty claims have been dismissed. Cardenas v. Toyota Motor Corp., 418 F. Supp. 3d 1090,

    1110-11 (S.D. Fla. 2019); Hernandez v. Johnson & Johnson Consumer, Inc., No. 3:19-cv-15679-




    18
      The Plaintiffs have alleged that NDMA formed in ranitidine during normal, routine transport of the drug. See MPIC
    ¶¶ 407-08.

                                                            43
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 44 of 46




    BRM-TJB, 2020 WL 2537633, at *5 (D.N.J. May 19, 2020). As a result, the Plaintiffs’ federal

    warranty claim is dismissed without prejudice as to the Defendants.

              Counts XIII, XIV, and XV of the MPIC are claims for loss of consortium, damages to

    be paid to the estates of deceased ranitidine-product consumers, and wrongful death. MPIC ¶¶ 637-

    56. Defendants refer to these three counts as “derivative” claims and contend that these claims

    must be dismissed if all of the other claims against them are dismissed. Plaintiffs do not dispute

    that the derivative claims must be dismissed if no other claims remain against Defendants, but

    Plaintiffs assert again that they can proceed with all of their claims against Defendants. See In re

    Darvocet, 756 F.3d at 936 (affirming a district court’s dismissal of “derivative claims for wrongful

    death, survivorship, unjust enrichment, loss of consortium, and punitive damages” when the

    district court had dismissed all “underlying claims” because the derivative claims “stand or fall

    with the underlying claims on which they rest”). Because the Court is dismissing all underlying

    claims against Defendants for the reasons given herein, the derivative claims raised against

    Defendants in Counts XIII, XIV, and XV of the MPIC and any identical claims in the CCCAC are

    dismissed without prejudice.

                          VIII. Defendants’ Second Round Motions to Dismiss

           Pursuant to the Court’s schedule in Pretrial Order # 36, the Defendants were permitted to

    file a second round of motions to dismiss, provided the second-round motions were limited to

    certain topics outlined in the Pretrial Order. The Defendants elected to file additional motions to

    dismiss that complied with Pretrial Order # 36. Defendants argue in those motions that, in the

    alternative to a finding by the Court that the Plaintiffs’ claims are pre-empted by federal law, the

    Court should find that certain states have liability shields that insulate the Defendants from the

    Plaintiffs’ claims. Because the Court has granted the Defendants’ First Round Motions to Dismiss



                                                    44
Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 45 of 46




    on pre-emption grounds, the Court denies the Defendants’ Second Round Motions to Dismiss as

    moot,19 however, the Court addresses one specific point raised in the parties’ briefing on the

    motions.

            Both Second Round Motions to Dismiss argued that some states shield the Defendants from

    liability, but the Defendants’ arguments were not broken out state-by-state. The Plaintiffs, in their

    Responses, argued that the Defendants had not met their burden to dismiss the claims in their

    entirety because the Defendants had not addressed the laws of each state. The Court recognizes

    that the Defendants’ ability to make a state-by-state argument was impaired by the Plaintiffs’

    shotgun-style pleading. Plaintiffs shall clearly specify, in any future amended pleading, which

    states’ laws their claims are brought under and, as a result, any future motions to dismiss raising

    the arguments in the second round of motions to dismiss should address the law applicable to the

    Plaintiffs’ claims on a state-by-state basis.

                                                   IX.      Conclusion

            For the foregoing reasons, it is ORDERED AND ADJUDGED that the Retailer

    Defendants’ Motion to Dismiss at docket entry 1584 is GRANTED and the Distributor

    Defendants’ Motion to Dismiss at docket entry 1583 is GRANTED. All of the Plaintiffs’ claims

    against the Retailer and the Distributor Defendants are DISMISSED. The Court’s dismissal is

    with prejudice except as to the Plaintiffs’ general negligence and derivative counts, and as to the

    Plaintiffs’ Magnuson-Moss Warranty Act count, all of which may be repled in accordance with

    the rulings in this Order. The Retailer Defendants’ Motion to Dismiss at docket entry 2044 and

    the Distributor Defendants’ Motion to Dismiss at docket entry 2045 are DENIED AS MOOT.




    19
     At the Hearing, the Defendants agreed that these motions would be moot, provided the Court granted their earlier
    motions on pre-emption grounds. DE 2499 at 124.

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Case 9:20-md-02924-RLR Document 2513 Entered on FLSD Docket 12/31/2020 Page 46 of 46




           Under Pretrial Order # 36, the Plaintiffs’ repled Master Complaints are due 30 days after

    the Court issues its Order on Article III standing. DE 1346 at 4. The Court AMENDS that

    requirement in Pretrial Order # 36. The Plaintiffs’ repled Master Complaints are due 30 days after

    the Court issues its forthcoming Order on the Branded Defendants’ Rule 12 Partial Motion to

    Dismiss Plaintiffs’ Three Complaints as Preempted by Federal Law. DE 1580. All other

    requirements in Pretrial Order # 36 remain in place.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 31st day of

    December, 2020.


                                                           ___________________________
                                                           ROBIN L. ROSENBERG
                                                           UNITED STATES DISTRICT JUDGE
    Copies furnished to Counsel of Record




                                                   46
